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                     UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

                                                 Civil Action No.: 4:20-cv-01383-MWB
                        Plaintiff,

               vs.

EVANGELICAL COMMUNITY
HOSPITAL

and

GEISINGER HEALTH,

                        Defendants.



  UNITED STATES’ EXPLANATION OF CONSENT DECREE PROCEDURES

       The United States submits this short memorandum summarizing the procedures

regarding the Court’s entry of the proposed Final Judgment. This Judgment would settle

this case pursuant to the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16(b)-(h)

(the “APPA” or “Tunney Act”), which applies to civil antitrust cases brought and settled

by the United States.

       1.    On August 5, 2020, the United States filed a Complaint. Today, the United

States files this Explanation of Consent Decree Procedures together with a proposed Final

Judgment and Stipulation and Order between the parties by which they have agreed that

the Court may enter the proposed Final Judgment after the United States has complied

with the APPA. The United States is also today filing a Competitive Impact Statement

relating to the proposed settlement.



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       2.      The proposed Stipulation and Order is a document that has been agreed to

by both the United States and Defendants. The United States and Defendants ask that the

Court sign this Order, which ensures that the Defendants preserve competition during the

pendency of the proceedings required by the Tunney Act, see 15 U.S.C. § 16(b)-(h).

       3.      The APPA requires that the United States publish the proposed Final

Judgment and the Competitive Impact Statement in the Federal Register and cause to be

published a summary of the terms of the proposed Final Judgment and the Competitive

Impact Statement in certain newspapers at least sixty (60) days prior to entry of the

proposed Final Judgment. Defendants in this matter have agreed to arrange and bear the

costs for the newspaper notices. The notice will inform members of the public that they

may submit comments about the proposed Final Judgment to the United States

Department of Justice, Antitrust Division, 15 U.S.C. § 16(b)-(c).

       4.     During the sixty-day period, the United States will consider, and at the

close of that period respond to, any comments that it has received, and it will publish the

comments and the United States’ responses in the Federal Register unless the Court

instead agrees that the United States may publish them on the U.S. Department of Justice,

Antitrust Division’s internet website.

       5.     After the expiration of the sixty-day period, the United States will file with

the Court the comments and the United States’ responses, and it may ask the Court to

enter the proposed Final Judgment (unless the United States has decided to withdraw its

consent to entry of the Final Judgment, as permitted by Paragraph 2 of the Stipulation and

Order, see 15 U.S.C. § 16(d)).




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       6.     If the United States requests that the Court enter the proposed Final

Judgment after compliance with the APPA, 15 U.S.C. § 16(e)-(f), then the Court may

enter the Final Judgment without a hearing, provided that it concludes that the Final

Judgment is in the public interest.



Dated: March 3, 2021

                                                     Respectfully submitted,



                                                     /s/ Natalie Melada
                                                     Natalie Melada
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                                                     Antitrust Division
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                             CERTIFICATE OF SERVICE

       I, Natalie Melada, hereby certify that on March 3, 2021, I electronically filed the

foregoing Explanation of Consent Decree Procedures through the Court’s CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.



                                                     /s/ Natalie Melada
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